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                              for tl^e ^ontfient IBiotrict of(l^eorgta
                                           iirttttofottk Btbtoion

              T.A.N., an individual, and on
              behalf of all others similarly
              situated.

                            Plaintiff,                         CV 216-132


                       V.



              PNI DIGITAL MEDIA, INC.,

                            Defendant.



                                                    ORDERS


                    Plaintiff T.A.N. and Defendant PNI Digital Media, Inc. have

              notified the Court that they have resolved this action.               Dkt. No.

              42.     They have requested that the Court (1) grant Final Approval

              of the Settlement; (2) certify the Settlement Class pursuant to

              Federal Rules of Civil Procedure 23(a), 23(b)(3), and 23(e); (3)

              appoint Plaintiff as class representative; (4) appoint the law

              firm and attorneys listed in paragraph 1.17 of the Agreement as

              Class Counsel; (5) approved the requested incentive award for the

              named    Plaintiff;    (6)    award    Class   Counsel   attorneys'   fees   and

              expenses; and (7) enter Final Judgment dismissing the action with


                      ^ All capitalized terms used herein have the meanings set forth and

              defined in the Settlement Agreement.



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              prejudice. Dkt. No. 42 at 3.

                                                LEGAL STANDARD


                     Court approval is required for settlement of a class action.

              Fed. R. Civ. P. 23(e). There is a ''strong judicial policy favoring

              settlements." In re Chicken Antitrust Litiq. Am. Poultry, 669 F.2d

              228, 238 (5th Cir. 1982). The Court's role is not to substitute

              its business judgment for that of the parties, but rather to

              determine "whether the settlement, taken as a whole, is so unfair

              on its face as to preclude judicial approval." Rankin v. Rots,

              2006    WL    1876538,    at   *3 (E.D.   Mich.    2006)    (quoting    Zerkle   v.

              Cleveland-Cliffs Iron Co, 52 F.R.D. 151, 159 (S.D.N.Y. 1971)).

                                                 DISCUSSION


                     On the 17th day of November, 2017, the Parties appeared

              before the Court for a hearing on whether the Settlement should

              be      finally     approved.          Plaintiff      Tamara      A.     Nedlouf

              ("Representative Plaintiff"), and Defendant PNI Digital Media,

              ULC f/k/a PNI Digital Media, Inc. ("PNI"), each by and through

              their        respective    counsel     (hereinafter        collectively     "the

              Parties"), previously submitted a proposed Settlement Agreement

              ("Settlement")      and    have   moved   this    Court    to   enter   judgment

              granting final approval of the Settlement.                 Having reviewed and

              considered the pleadings in the litigation and all documents,

              evidence and arguments presented in regard to final approval of




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the Settlement, and for good cause shown, the Court finds as

follows.


      On        September        19,     2016,        Representative           Plaintiff,

individually and as the proposed representative of all persons

similarly situated, filed a class action complaint against PNI

in the Superior Court of Glynn County, State of Georgia, No.

CE16-00906-063 (the ''Action") asserting claims for negligence,

breach of implied contract, breach of contract, violation of

Georgia Data Breach Statute, and unjust enrichment, based on

allegations that, among other things, PNI failed to secure and

safeguard        consumers'        personal         financial     data,        which   was

compromised        in     a   hacking       incident      that     occurred       between

approximately June 2014 and July 2015.                        Defendant removed the

Action     to    the    United     States    District     Court    for    the    Southern

District of Georgia, Brunswick Division, on September 19, 2016.

      Representative             Plaintiff,         through     her      counsel,      has

conducted an investigation of the facts, analyzed the relevant

legal issues,           reviewed    relevant documents,           and    confirmed     the

results of an investigation through additional discovery.

      Representative Plaintiff, through her counsel, has weighed

the   potential          risks     and      costs     associated        with    continued

prosecution of the Action against the benefits of the Settlement

Agreement.
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                     PNI has conducted its own investigation of the facts and

              legal issues and denies the factual allegations in the Class

              Action Complaint and denies any and all liability with respect

              to the claims alleged therein.

                     PNI has weighed the potential risks and costs associated

              with continued litigation of the Action against the benefits of

              the Settlement Agreement.

                     The     Parties     and     their      respective    counsel      believe,     in

              consideration of all of the circumstances and after substantial

              arm's length        negotiations between counsel, that the Parties'

              respective      interests        are     best    served    by    entering    into    the

              Settlement Agreement, and that the Settlement Agreement is fair,

              reasonable,        adequate,       and     in    the   best      interests     of    the

              Settlement Class.


                     The Settlement Agreement defines the ''Settlement Class" as:

              "all persons residing in the United States who made a payment to

              one or more Retailers using a credit, debit, or other payment

              card    between     June    2014    through      and   including    July     2015,   and

              whose payment card information was provided to PNI."

                     The Settlement Class specifically excludes "(i) PNI and its

              officers     and    directors; (ii) all Settlement Class Members                      who

              timely and validly request exclusion from the Settlement Class;

              (iii)    the    Judge      assigned      to     evaluate   the    fairness    of     this

              settlement;        and   (iv)    any     other    Person   found    by   a   court    of


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competent       jurisdiction       to   be     guilty    under     criminal     law    of
initiating, causing, aiding or abetting the criminal activity

occurrence of the Security Incident or who pleads nolo contender

to any such charge."

      The Settlement Agreement defines ""Released Claims" as ""any

and     all    claims        and   causes      of    action    including,       without

limitation, any causes of action under 18 U.S.C. § 2701 at sag.,

and all similar statutes in effect in any states in the United

States as defined herein; negligence; negligence per se; breach

of contract; breach of implied contract; breach of fiduciary

duty;         breach      of       confidence;          invasion      of        privacy;

misrepresentation {whether fraudulent, negligent or innocent);

unjust    enrichment;          bailment;     wantonness;       failure     to    provide

adequate notice pursuant to any breach notification statute or

common law duty; and including, but not limited to, any and all

claims for damages, injunctive relief, disgorgement, declaratory

relief,       equitable      relief,    attorneys'      fees   and   expenses,        pre-

judgment interest, credit monitoring services, the creation of a

fund for future damages, statutory damages, punitive damages,

special damages, exemplary damages, restitution, the appointment

of a receiver, and any other form of relief that either has been

asserted, or could have been asserted, by any Settlement Class

Member against any of the Released Persons based on, relating

to,   concerning        or    arising    out    of   the   Security      Incident      and
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alleged       theft      of        payment      card      data      or        other    personal

information         or     the     allegations,           facts,         or     circumstances

described in the Litigation.                   Released Claims shall not include

the right of any Settlement Class Member or any of the Released

Persons to enforce the terms of the settlement contained in this

Settlement         Agreement,      and    shall       not    include          the     claims   of

Settlement         Class    Members      who   have      timely     excluded          themselves

from the Settlement Class."


      The      Settlement        Agreement       defines       ^'Released           Persons"   as

"'PNI, its Related Entities, as well as the Retailers and each of

their    past      or    present     parents,        subsidiaries,            divisions,       and

related       or   affiliated      entities,        and     each   of     their       respective

predecessors,            successors,       directors,            officers,            employees,

principals, agents, attorneys, insurers, and reinsurers."

      The Parties intend that the proposed settlement embodied in

the     Settlement         Agreement      will       resolve       all    Released        Claims

against all Released Persons.

        The    Parties      have   engaged      in    extensive,         hard       fought,    and

arm's-length         negotiations.             As    a    result     of        those     lengthy

negotiations, the Parties have been able to reach an agreement

to settle the Action.


        On    May 24,      2017,    the    Parties,         by their          duly authorized

counsel, entered into the Settlement Agreement, which provides

that, subject to the approval of this Court pursuant to Rule 23,
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Federal    Rules        of    Civil    Procedure,            the   claims     asserted      in   the

Action     against           PNI     were    to     be       settled,        compromised,        and

dismissed        with    prejudice,         upon       and    subject       to   the    terms    and

conditions set forth therein.


     By the terms of the proposed settlement of the Action, in

exchange     for        the    dismissal          of     the       Action     with     prejudice,

dismissal of all Released Claims with prejudice, and for entry

of this Final Order and Judgment, PNI shall make available all

of   the    benefits           and     relief       set       forth     in       the   Settlement

Agreement,        the    terms       of     which      are    expressly incorporated              by

reference    herein, in accordance                     with the       procedures set forth

therein.


     On June 2, 2017, this Court entered a Preliminary Approval

Order {the ^'Preliminary Approval Order"), which, inter alia:

     • preliminarily approved the settlement, pursuant to Rule

           23;


     • conditionally               certified,          for     settlement        purposes    only,

           pursuant to Rule 23, the Settlement Class;

     • conditionally found that Representative Plaintiff is an

           adequate representative of the Settlement Class;

     • appointed E. Adam Webb, Webb, Klase & Lemond, LLC, and

           James    B.        Durham,       Hall    Booth          Smith,    P.C.      as   Co-Lead

           Settlement Class Counsel for the Settlement Class;
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   • set a hearing to take place on November 17, 2017 at 10:00

      a.m.   before     this    Court   (the       ^'Fairness    Hearing"),        upon

      notice to Settlement Class Members;


   • approved proposed forms of Notice, which contained, inter

      alia, instructions for Settlement Class Members to, inter

      alia, obtain the settlement benefits referenced in the

      Settlement Agreement;

   • prescribed the methods and period of time for providing

      notice   to Settlement Class Members of, inter alia, the

      proposed Settlement Agreement and the Fairness Hearing,

      and    directed    that    PNI    pay        all   costs   associated        with

      providing notice to the members of the Settlement Class;

   • found that such notice to the Settlement Class Members as

      described in the Settlement Agreement and the Preliminary

      Approval    Order        was   the      best       means      practicable      of

      providing     notice      under        the    circumstances           and,   when

      completed, would constitute due and sufficient notice of

      the    proposed     Settlement         Agreement        and     the     Fairness

      Hearing to Settlement Class Members, in full compliance

      with the notice requirements of Rule 23 and due process,

      and that the Notice was accurate, objective, informative,

      and    provided    Settlement Class Members                with   all of the

      information       necessary       to     make      an   informed        decision
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       regarding their participation in the Settlement Agreement

       and its fairness;


    • prescribed the method and period of time during which

       Settlement        Class      Members       could     file   requests    to    be

       excluded from the Settlement Class;


    • provided that any Settlement Class Member who did not

       properly and timely request exclusion from the Settlement

       Class       would       be   bound    by     all    of   the    terms   of   the

       Settlement Agreement, whether or not such person objected

       to    the    Settlement          or   made    a    claim    pursuant    to   the

       Settlement Agreement;

    • prescribed the method and period of time during which

       Settlement Class Members could serve written objections

       to the Settlement and/or notices of intention to appear

       at the Fairness Hearing;

    The     Court found, for            settlement        purposes only, that the

prerequisites      for     a    class    action      under      Rule   23   have    been

satisfied in that: the number of Settlement Class Members is so

numerous that joinder of all members thereof is impracticable;

there are questions of law               and fact common to the Settlement

Class; the claims of Plaintiff are typical of the claims of the

Settlement Class they seek to represent; Plaintiff has and will

fairly and adequately represent the interests of the Settlement

Class; the questions of law and fact common to the Settlement
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Class    Members      predominate       over         any   questions     affecting       only

individual members of the Settlement Class; a                            class action is

superior       to   all     other   available          methods     for    the     fair    and

efficient adjudication of this controversy; and the prosecution

of separate actions by or against individual members of the

Settlement Class would create a risk of inconsistent or varying

adjudications         with      respect     to        individual     members       of     the

Settlement Class which would establish incompatible standards of

conduct.


        The   terms   of     settlement,        as    set forth     in    the   Settlement

Agreement, are in all respects fair, reasonable, and adequate,

and   in      the   best    interests     of     the       Settlement     Class    Members.

Therefore, the Settlement Agreement is approved in all respects

in accordance with Rule 23 and applicable law.                          The Parties have

demonstrated, and the Court finds, that notice of the proposed

Settlement was provided to the Settlement Class pursuant to the

terms of the Preliminary Approval Order.

        On November 17, 2017, the Fairness Hearing was duly held.

This Court heard from Class Counsel on behalf of the Settlement

Class    and    PNI's      counsel.       The    Court      also   reviewed       all    other

arguments and submissions, the record in these proceedings, and

the application of Co-Lead Settlement Class Counsel for an award

of    attorney's        fees,    reimbursement             of   reasonable      costs      and

expenses, and an incentive award to the Class Representative.


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    It is hereby ORDERED that:

    1.   Notice     to    the    Settlement    Class        Members          required   by

         Rule 23 has been provided as directed by this Court in

         the    Preliminary         Approval       Order,        and     such        notice

         constituted       the    best     notice     practicable,            including,

         but not limited to, the forms of notice and methods of

         identifying       and    providing        notice    to        the    Settlement

          Class Members, and satisfied the requirements of Rule

          23 and due process, and all other applicable laws.

    2.    The Settlement Class, as set forth above and in the

          Preliminary          Approval      Order,         is         unconditionally

          certified pursuant to Rule 23.

    3.    The   Court     is     familiar     with     the       efforts       by     Class

          Counsel    in    this     action     and     finds       that       they     have

          vigorously investigated and pursued this litigation on

          behalf of Plaintiff and the Settlement Class.                          Co-Lead

          Settlement      Class    Counsel     have,    at       all    times,       fairly

          and      adequately       represented         Plaintiff              and      the

          Settlement Class; diligently and competently performed

          all their duties owed to Plaintiff and the Settlement


          Class;    and    considered        and     pursued       the       appropriate

          avenues    of    relief    for    Plaintiff        and       the    Settlement


          Class.




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    4.   The     Settlement,       as     set       forth       in     the    Settlement

         Agreement, is in          all respects fair, reasonable, and

         adequate, and in the best interests of the Settlement

         Class    Members,       and    is    approved         in    all     respects    in

         accordance     with      Rule       23    and       applicable      law.        The

         Settling Parties shall comply with the terms of the

         Settlement.         There     was    no    fraud      or    collusion      behind

         the    Settlement.        Absent         the    Settlement,         the   Parties

         and the Court would incur further substantial time and

         expense      over   a    long       period      of    litigation          and   any

         appeals.       Sufficient investigation and discovery was

         conducted, both informally and by formal confirmatory

         discovery, in order to make an informed and reasoned

         decision      regarding        the       Settlement.         See    Manual      for

         Complex Litigation (Fourth) at § 11.423 (2004) (noting

         that    informal        discovery        is     a   recognized       method      of

         minimizing the cost, delay, and burden associated with

         formal discovery).             Plaintiff faced substantial risk

         in     the   Action      that       could       have        resulted      in    the


         Settlement     Class      receiving            nothing.        The     realistic

         range for this case is anywhere from no recovery at

          all to actual damages of class members plus attorneys'

         fees    and litigation          costs.          The    Settlement         provides

         substantial monetary benefits for the Settlement Class



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          which    are     fair,     reasonable,         and     adequate.       Co-Lead

         Settlement          Class      Counsel,          who     have      substantial

         experience        with      consumer     data      breach      class   actions,

          are     of   the    opinion       that      the      Settlement       is    fair,

         reasonable,         and     adequate.           Likewise,      Representative

          Plaintiff is also of the opinion that the Settlement

         is fair, reasonable, and adequate.

          The   Settlement         shall   not    be     deemed    to    constitute     an

          admission or finding of liability or wrongdoing on the

          part of PNI, the Plaintiff, Settlement Class Members,

          or Released Persons.


          Those persons appearing on the list annexed hereto as

          Exhibit A have properly and timely requested exclusion

         from the        Settlement Class,             pursuant to the terms of

         this      Court's        Preliminary         Approval       Order,     and     are

         excluded from the Settlement Class, shall not be bound

          by    this      Final    Order        and    Judgment,      and     shall     not

          participate in the proceeds of the Settlement hereby

          approved nor receive any benefit thereunder.

         The      Court      notes    there       were      no   objections      to     the

         Settlement, including all matters related thereto, and

         to the Plaintiff's Motion for Final Approval of Class

         Action Settlement and Award of Attorneys' Fees, Costs,

         and Expenses, and Incentive Award.



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    8.    The    Court        has        carefully       reviewed,        weighed,       and

          considered Class Counsel's motion for attorney's fees

          and    reasonable         costs      and    expenses,     and    the    argument

          and evidence presented relative to said motion.                                The

          Settling      Parties          did     not     discuss    the        payment    of

          attorneys'         fees,       costs,      expenses,     and     an    incentive

          award to Representative Plaintiff, as provided for in

                7.2    and    7.3    of     the      Settlement     Agreement,       until

          after the substantive terms of the Settlement had been

          agreed upon, other than that PNI would pay reasonable

          attorneys'         fees,       costs,       expenses,    and     an    incentive

          award to Representative Plaintiff as may be agreed to

          by PNI and Co-Lead Settlement Class Counsel and/or as

          ordered by the Court, or in the event of no agreement,

          then as ordered by the Court. Thereafter, PNI agreed

          to pay, subject to Court approval, up to the amount of

          $650,000      to     Co-Lead           Settlement       Class    Counsel       for

          attorneys'         fees.         Co-Lead      Settlement        Class    Counsel

          seek    an   award        of    attorneys'      fees     in    the    amount    of

          $650,000.          The Court has considered, inter alia: the

          benefit conferred on the Class, the complexity of the

          issues, the duration of the case, the risks to which

          Plaintiff's         Counsel          were     exposed,     the       experience,

          reputation,         and        skill    of     the   attorneys         involved.



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                        awards    in      similar        cases,    time      and       labor    required,

                        lodestar     cross-check,          and     reaction      of Class Members.

                        The attorney's fees, costs and expenses, and incentive

                        award sought are separate and apart from the benefits

                        to the Settlement Class, and PNI does not object to

                        the award as requested by Class Counsel.                          Based on the

                        foregoing, the Court hereby grants Co-Lead Settlement

                        Class    Counsel's          motion     for      attorney's        fees     in   the

                        amount of $650,000, and                  Class Counsel's request for

                        $3,735.70       in     litigation         costs      and       expenses,    which

                        shall be paid by PNI per the terms of the Settlement

                        Agreement.

                  9.    Class     Counsel          has    also     requested        the     payment      of

                        incentive       award       to   the     Class     Representative          in   the

                        amount of $3,750 for her time and efforts spent in

                        pursuit      of      this    litigation.            Again,       PNI    does    not

                        object to this request and said award is separate and

                        apart    from        the    benefits       to     the      Settlement      Class.

                        Here, Class Representative agreed to pursue the claims

                        at   issue     for     the       benefit     of    the     entire      Class    and

                        participated in conferences and                      meetings          with Class

                        Counsel.       The    Court      finds     an     incentive       award    in   the

                        amount of $3,750 for the Class Representative is fair,

                        reasonable,          and     adequate        under       the     circumstances.


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          Accordingly, the Court hereby grants Class Counsel's

          motion for an incentive award in the amount of $3,750,

          which   shall       be    paid     by    PNI   per   the   terms      of   the

          Settlement Agreement.

    10.   The Action is hereby dismissed, with prejudice, on the

          merits, as against PNI, on the terms and conditions

          set   forth    in    the       Settlement      Agreement,      and   without

          costs to any party except as provided herein or in a

          separate      order       of     the     Court,     in   the   Preliminary

          Approval Order, and in the Settlement Agreement.

    11.   Upon the Effective Date, each Plaintiff and Settlement

          Class Member shall be deemed to have, and by operation

          of this    Final Order and               Judgment shall have, fully,

          finally,      and        forever        released,    relinquished,         and

          discharged     all       Released       Claims    against the        Released

          Persons, in the manner(s) set forth in the Settlement

          Agreement.

    12.   Upon the Effective Date, each Plaintiff and Settlement

          Class Member shall be permanently barred and enjoined

          from asserting, commencing, prosecuting, or continuing

          any of the Released Claims in the manner(s) set forth

          in the Settlement Agreement.




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                     13.    By    reason     of    the        Settlement,          and       approval     hereof,

                            there is no just reason for delay and this Final Order

                            and Judgment shall be deemed a final judgment.

                     14.    Jurisdiction          is      reserved,          without           affecting        the

                            finality of this Final Order and Judgment, over:

                            (a)    Effectuating,           enforcing,             and    administering          the

                                   settlement           and     the     terms           of    the     Settlement

                                   Agreement; and

                            (b)    Determining whether, in the event an appeal is

                                   taken     from       any    aspect of this                 Final Order       and

                                   Judgment,            notice        should        be        given      at     the

                                   appellant's           expense        to        the        Settlement       Class

                                   Members        apprising         them     of    the        pendency    of    the

                                   appeal and such other matters as the Court may

                                   order.


                                                        CONCLUSION


                     The   motion    for     settlement,            dkt.     no.    42, is       GRANTED, and

              this   case    is     hereby    DISMISSED             wi'bh   prejudice.          The     Clerk    is

              DIRECTED     to     terminate       all    deadlines          and    motions       and    to    close

              this case.




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                  so ORDERED, this        day of December, 2017.




                                                     HON. LISA GODBEY WOOD, JUDGE
                                                     UNITED STATES DISTRICT COURT
                                                     SOUTHERN DISTRICT OF GEORGIA




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